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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

                                                       )
     STATE OF NEW JERSEY,                              )
                                                       )
                 Plaintiff,                            )
                                                       )
          v.                                           )
                                                       )
     UNITED STATES DEPARTMENT OF                       )    No. 23-3885 (LMG-LDW)
     TRANSPORTATION, et al.,                           )
                                                       )
                 Defendants,                           )
                                                       )
          and                                          )
                                                       )
     METROPOLITAN TRANSPORTATION                       )
     AUTHORITY, et al.,                                )
                                                       )
                 Defendant-Intervenor.                 )
                                                       )

                DEFENDANTS’ NOTICE OF LODGING JOINT APPENDIX

         Pursuant to this Court’s February 8, 2024 Order (ECF No. 113), Defendants1 hereby

 provide notice of lodging the joint appendix for this action. As detailed in the attached index, the

 appendix contains those portions of the full Administrative Record identified by the Parties for

 inclusion in a condensed record. See ECF No. 120 (noting Parties’ agreement); see also ECF

 No. 71-2 (complete Administrative Record index).

         The documents listed in the index will be filed electronically through the CM/ECF

 system as exhibits to this filing. In addition, Defendants will share copies of the joint appendix

 with counsel for Plaintiff and Defendant-Intervenor through a file transfer site.



 1
        Defendants are the U.S. Department of Transportation (“DOT”), the Federal Highway
 Administration (“FHWA”), Shailen Bhatt, in his official capacity as Administrator of FHWA,
 and Richard J. Marquis, in his official capacity as Division Administrator of the New York
 Division of FHWA.
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                   Respectfully submitted this 29th day of February, 2024,

                                         TODD KIM
                                         Assistant Attorney General
                                         United States Department of Justice
                                         Environment & Natural Resources Division

                                         /s/ GREOGRY M. CUMMING
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